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                                                Showfields NY2 LLC
                                                       Profit and Loss
                                                    January - August, 2023


                                                                                                                TOTAL
Income
 500000 Income
  500001 Membership Flagship                                                                                932,660.65
  500003 Design and Prod.                                                                                   176,295.94
  500007 Events Flagship                                                                                     49,775.00
  500010 Other Income                                                                                          1,365.54
 Total 500000 Income                                                                                       1,160,097.13
 Uncategorized Income                                                                                              0.00
Total Income                                                                                              $1,160,097.13
Cost of Goods Sold
 600000 PayRoll Expense
  600001 Payroll                                                                                            336,801.60
  600002 Payroll tax                                                                                         47,827.01
  600003 Benefits                                                                                              2,532.06
  600004 Payroll fees                                                                                        13,797.20
 Total 600000 PayRoll Expense                                                                               400,957.87
 610002 Discount                                                                                               2,797.22
 610003 Stripe and Bank Fees                                                                                 14,824.65
 620000 Rent Expense                                                                                        656,490.16
 630000 Operations
  630001 Utilities                                                                                             5,397.92
  630003 Supplies                                                                                            19,193.66
  630008 Insurance                                                                                           19,694.04
 Total 630000 Operations                                                                                     44,285.62
 630002 Repairs & Main.                                                                                      15,398.87
 630004 Storage                                                                                                1,309.00
 630005 Shipping                                                                                             22,071.42
 630006 Show                                                                                                    350.00
 630009 Software                                                                                                 97.99
 630010 Other Mics                                                                                              287.91
 630011 Licenses & Permits                                                                                     1,456.00
 630012 Professoinal Services                                                                                  2,500.00
 640001 Materials                                                                                            28,736.62
 640002 Contractors & Instalations                                                                           79,426.31
 640005 Event Expense                                                                                        17,291.57
Total Cost of Goods Sold                                                                                  $1,288,281.21
GROSS PROFIT                                                                                              $ -128,184.08
Expenses
 Advertising & marketing
  Website ads                                                                                                      0.00
 Total Advertising & marketing                                                                                     0.00




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                                               Showfields NY2 LLC
                                                      Profit and Loss
                                                   January - August, 2023


                                                                                                               TOTAL
 Contract labor                                                                                                  0.00
 General business expenses
  Bank fees & service charges                                                                                    0.00
 Total General business expenses                                                                                 0.00
 QuickBooks Payments Fees                                                                                        0.00
Total Expenses                                                                                                  $0.00
NET OPERATING INCOME                                                                                     $ -128,184.08
Other Income
 660001 Interest expense                                                                                     -5,250.00
Total Other Income                                                                                         $ -5,250.00
Other Expenses
 800000 Depreciation expenses                                                                               99,620.96
 Reconciliation Discrepancies                                                                                    2.90
Total Other Expenses                                                                                       $99,623.86
NET OTHER INCOME                                                                                         $ -104,873.86
NET INCOME                                                                                               $ -233,057.94




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